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                                 UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

Charlotte Loquasto, et al.                §
                                          §
                      Plaintiffs,         §     Civil Action No. 3:19-CV-01455-B
                                          §
vs.                                       §             (Consolidated with
                                          §     Civil Action No. 3:19-CV-01624-B)
Fluor Corporation, Inc., et al.           §
                                          §
                      Defendants.         §
.                                         §
__________________________________________________________________________

             ALLIANCE PROJECT SERVICES, INC.’S RESPONSE TO
     DEFENDANT FLUOR CORPORATION, INC., FLUOR ENTERPRISES, INC.,
    FLUOR INTERCONTINENTAL, INC., AND FLUOR GOVERNMENT GROUP
          INTERNATIONAL, INC.’S RULE 12(H)(3) MOTION TO DISMISS
                FOR LACK OF SUBJECT MATTER JURISDICTION
                 UNDER THE POLITICAL QUESTION DOCTRINE
__________________________________________________________________________
      Defendant Alliance Project Services, Inc. (“APS”) joins Defendants Fluor Corporation,

Inc., Fluor Enterprises, Inc., Fluor Intercontinental, Inc., and Fluor Government Group, Inc.’s

(collectively, “Fluor Defendants”) Rule 12(h)(3) Motion to Dismiss for Lack of Subject Matter

Jurisdiction under the Political Question Doctrine (“Motion to Dismiss”) [Dkt. No. 21] as

follows:

        1.       Plaintiffs allege that APS nominally employed Ahmad Nayeb and that it was

Fluor Defendants, not APS, who generally managed and supervised Nayeb. [Dkt. No. 1-3 at 22.]

        2.       Citing government documents, the Motion to Dismiss sets forth facts

demonstrating that the United States Military, in the exercise and implementation of its

judgment, decision-making powers, policy-making authority, intelligence gathering, and




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strategies—and not APS—directed the hiring of Nayeb and screened, searched, and granted

Nayeb access to the Bagram Airfield. [Dkt. No. 21.]

        3.       The facts, arguments, and supporting law set forth in the Motion to Dismiss apply

with equal force as to the claims against APS, and the Court should dismiss Plaintiffs’ claims

against APS under the political question doctrine.

        THEREFORE, APS respectfully joins the Flour Defendants’ Motion to Dismiss and

requests that the Court dismiss Plaintiffs’ suit against APS.

        File Date: October 7, 2019               Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that on this 7th day of October 2019, a true and correct copy of the foregoing
document was served on counsel of record for the parties through the CM/ECF system in
accordance with the Federal Rules of Civil Procedure.

                                                    /s/ David Grant Crooks
                                                    David Grant Crooks




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